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                             TAB 1


 EXCERPTS FROM THE DEPOSITION OF BRUCE A.
               ROSENFIELD
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                                                                                                 Page 1


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                ---
             ANNA K. NUPSON,
                     Plaintiff,
                   VS.
             SCHNADER HARRISON SEGAL
             & LEWIS, LLP, and BRUCE A.
             ROSENFIELD, ESQ.,
                     Defendants.          NO. 2:18-cv-02505-NIQA
                                ---
                              CONFIDENTIAL
                                  ---
                      Videotaped deposition of BRUCE A.
             ROSENFIELD, ESQUIRE, taken at Dilworth Paxon, LLP,
             1500 Market Street, Suite 3500E, Philadelphia,
             Pennsylvania, on Thursday, June 24, 2021, beginning
             at approximately 9:11 a.m., before Elizabeth Kelly,
             Professional Reporter and Notary Public in and of
             the Commonwealth of Pennsylvania.

            WITH CONFIDENTIALITY DESIGNATIONS BY NON-PARTIES
            JOHN S. MIDDLETON AND BRADFORD HOLDINGS, INC.,
            PURSUANT TO THE FEBRUARY 28, 2020 STIPULATED
            PROTECTIVE ORDER ENTERED IN THIS MATTER

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                                                                                               Page 63
    1        around?
    2                 MR. MANNION: So to the extent that
    3             involves discussions with Mrs. Middleton that
    4             were not in the presence of a third party
    5             and/or Mr. Rosenfield was not authorized to
    6             reveal those communications to the third party,
    7             John Middleton as co-executor of Frances
    8             Middleton's estate will assert a privilege. So
    9             I'll caution the witness to be thinking about
  10              those parameters.
  11                  MR. MCMICHAEL: Okay. Mr. Rosenfield, the
  12              question is: When was the topic of a GRAT
  13              first -- when did it first come about? You can
  14              answer the question of when without referring
  15              to any discussions that might be privileged.
  16              So we'll take it one question at a time.
  17                  THE WITNESS: Somewheres around 1999.
  18                  MR. DAVIS: Okay.
  19                  THE WITNESS: Possibly before that.
  20         BY MR. DAVIS:
  21              Q     Okay. Let me back up and just see if I
  22         understand.
  23                       Did Frances Middleton ever authorize
  24         you to discuss either the oral GRAT or GRAT 1 with
  25         Anna Nupson?

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                                                                                               Page 64
    1                 MR. MCMICHAEL: Yeah. At what point in
    2             time?
    3        BY MR. DAVIS:
    4             Q     At any point in time?
    5             A     Yes. In 2002.
    6             Q     Okay.
    7             A     Later in 2002.
    8             Q     Do you have a writing of that
    9        authorization?
  10              A     No.
  11              Q     She just orally provided that?
  12              A     Yes.
  13              Q     When did she do that?
  14              A     I think at -- well, I think it was in -- I
  15         think at the meeting that I had with Fran and Anna
  16         was in September of 2002.
  17              Q     And did she permit you to discuss all of
  18         the details of the oral GRAT or GRAT 1 with Anna
  19         Nupson?
  20              A     Yes.
  21              Q     Okay. So I don't think the privilege
  22         stands anymore. It seems to be waived. Perhaps I'm
  23         wrong. We'll just keep going on the questions and
  24         see where we get.
  25                  MR. MCMICHAEL: Yeah. I mean, I think

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                                                                                               Page 65
    1             that -- I think we probably all agree that
    2             there is no privilege with respect to the
    3             September meeting and the directions that Mr.
    4             Rosenfield had from Fran in connection with
    5             that meeting. I think if you ask questions
    6             about what their discussions were in 1999 about
    7             GRAT and other, you know, alternative estate
    8             plans, there's going to be an assertion of
    9             privilege.
  10         BY MR. DAVIS:
  11              Q     Well, I am going to ask you those
  12         questions.
  13                       What were those discussions with Fran
  14         --
  15              A     What --
  16                       (Indecipherable cross-talk.)
  17                  THE WITNESS: I'm sorry, I don't
  18              understand what you're saying.
  19         BY MR. DAVIS:
  20              Q     Sure. Let me -- well, first, let me --
  21         we're going to mark as Exhibit 44 the billing from
  22         3/12/99. Let me get you your billing, and then
  23         hopefully, that will kind of center us a little bit.
  24                              ---
  25                       (Exhibit 44 was marked for

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                                                                                               Page 66
    1        identification.)
    2                             ---
    3




  11              Q     Okay. And who is Roy Ross?
  12              A     Well, a colleague of mine in the trust and
  13         estates group at Schnader.
  14              Q     Would he be drafting for GRATs, and
  15         trusts, and things?
  16              A     Yes.
  17              Q     Okay. So this appears, at least in the
  18         documentation, the first time I've seen the term
  19         GRAT mentioned with Frances, all right. And so I'm
  20         trying to -- and I think that coincides with about
  21         the timeframe that you mentioned earlier.
  22                       And so what I would like to know is:
  23         What are the discussions you had with Frances
  24         regarding a GRAT in this timeframe?
  25

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                                                                                               Page 67
    1                 MR. MANNION: Again, on behalf of Mr.
    2             Middleton as co-executor, I'm going to object
    3             to the extent that it involves a discussion
    4             with Mrs. Middleton that did not include a
    5             third party or that Mr. Rosenfield was not
    6             specifically authorized to reveal to third
    7             parties.
    8                 And, Mr. Davis, you made a reference to
    9             authorizing information to be revealed to Ms.
  10              Nupson. There is a difference between
  11              authorizing specifics and authorizing every
  12              aspect of every conversation that Mrs.
  13              Middleton had with Mr. Rosenfield.
  14                  So again, if it's been authorized by Mrs.
  15              Middleton to be released or there was a third
  16              party present, there is no objection.
  17              Otherwise, we are asserting the privilege.
  18                  MR. MCMICHAEL: All right. So I'm going
  19              to ask you a couple of questions to determine
  20              whether I'm going to direct you not to answer.
  21              Did you have a conversation with Mrs. Middleton
  22              around March of 1999? Do you recall? And just
  23              answer yes or no. I don't want you to describe
  24              the conversation, obviously.
  25                  THE WITNESS: I don't recall.

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                                                                                               Page 68
    1                 MR. MCMICHAEL: All right. Okay. What's
    2             your question now?
    3        BY MR. DAVIS:
    4             Q     Well, let me back up. My understanding of
    5        your testimony was you recalled that a GRAT was
    6        being discussed in the 1999 timeframe.
    7                      That was the first time that there
    8        was any discussions of a GRAT with Ms. Middleton?
    9             A     There may have been discussions before
  10         that.
  11              Q     Okay. I am asking you now, those
  12         discussions, either before that or in 1999, what
  13         were those discussions?
  14                  MR. MCMICHAEL: All right. Don't answer
  15              that question. Let me ask you a couple
  16              questions first. Did Mrs. Middleton authorize
  17              you to reveal those discussions to third
  18              parties, whatever discussions you were having
  19              at that point in time?
  20                  THE WITNESS: No.
  21                  MR. MCMICHAEL: And were there other
  22              parties present, other than Schnader lawyers,
  23              during those discussions?
  24                  THE WITNESS: Yes.
  25                  MR. MCMICHAEL: Who else was present?

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                                                                                               Page 69
    1                 THE WITNESS: John Middleton would have
    2             been present. And it is possible that in some
    3             discussions, John Stein could have been
    4             present.
    5                 MR. MCMICHAEL: And who is John Stein?
    6                 THE WITNESS: The family accountant.
    7                 MR. MCMICHAEL: Okay. So I need some
    8             guidance on your privilege assertion with
    9             respect to conversations where John Middleton
  10              was present.
  11                       (Discussion was held off the record.)
  12                  MR. MCMICHAEL: Mr. Rosenfield, at the
  13              time that these discussions occurred with Ms.
  14              Middleton, was John a co-client?
  15                  THE WITNESS: Yes.
  16                  MR. MCMICHAEL: He was a co-client. Sorry
  17              about this.
  18                       (Discussion was held off the record.)
  19                  MR. MCMICHAEL: Okay. So now, Mr.
  20              Rosenfield, we just want to make the record
  21              clear. At the time of the discussion, was John
  22              a co-client for purposes of the discussion you
  23              were having?
  24                  THE WITNESS: I'm sorry, I don't
  25              understand that.

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                                                                                               Page 70
    1                 MR. MCMICHAEL: When you were having the
    2             discussions with Ms. Middleton and with John,
    3             were you, in your mind, representing both of
    4             them in connection with that discussion that
    5             you were having?
    6                 MR. DAVIS: With the GRAT discussion.
    7                 MR. MCMICHAEL: The GRAT discussion, yes.
    8                 THE WITNESS: I mean, John was involved in
    9             it. I mean, they were primarily for -- for
  10              Fran and for estate planning for Fran.
  11                  MR. MCMICHAEL: Yeah. I'm going to direct
  12              the witness not to answer at this point.
  13                  MR. DAVIS: All right.
  14                  MR. MCMICHAEL: I mean, if you want to go
  15              off the record, I can have a more fulsome
  16              discussion with counsel for Mr. Middleton about
  17              it right now, or we can just keep moving and
  18              deal with it later. It's your call.
  19                  MR. DAVIS: Let me -- let me ask one
  20              follow-up question, and I --
  21                  MR. MCMICHAEL: Sure.
  22                  MR. DAVIS: -- may let you do that.
  23         BY MR. DAVIS:
  24              Q     Mr. Rosenfield, the 2002 permission
  25         provided by Frances Middleton, did she authorize you

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                                                                                               Page 71
    1        to speak to her daughter, Anna Nupson, about the --
    2        everything related to the GRAT, GRAT 1 or the oral
    3        GRAT as I'm defining them?
    4             A     Yes.
    5             Q     She did, okay.
    6                      And that would include discussions
    7        prior to the actual formation of the oral GRAT or
    8        GRAT -- the execution of GRAT 1?
    9             A     No. She simply asked me to discuss with
  10         Anna the terms of the GRAT.
  11              Q     Okay. And did you take that authorization
  12         to include an authorization to discuss the formation
  13         of the GRAT and all of the surrounding
  14         circumstances?
  15              A     No, I didn't. No.
  16              Q     Okay. Just to make sure I understand, is
  17         there any writing that you made to Frances Middleton
  18         or to Anna Nupson related to your authorization to
  19         speak about the -- either the oral GRAT or GRAT 1?
  20              A     No.
  21              Q     Okay. If you could, and let me not lead
  22         you, explain what you understood as the authority
  23         you received from Frances Middleton to discuss the
  24         GRAT?
  25              A     Fran invited me to her house to -- for the

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                                                                                               Page 72
    1        express purpose of describing it to Anna.
    2             Q     Okay. And when you say "describing it to
    3        Anna," you're referring to the oral GRAT and GRAT 1?
    4        That's what I'm calling them. I know you have a
    5        different name for them.
    6             A     I do have a different name for them, but
    7        yes.
    8             Q     Okay. And you didn't understand that
    9        authorization to include discussions prior to the
  10         formation, the oral -- the oral GRAT in
  11         February 1st, 2001?
  12              A     The discussions -- I'm sorry, there's one
  13         GRAT, and --
  14              Q     Okay.
  15              A     -- the discussions were of that GRAT.
  16              Q     Okay. I'm just trying to understand the
  17         scope because that's what these gentlemen are going
  18         to want to discuss. And that's what I'm trying to
  19         understand.
  20                       What was your understanding of the
  21         scope of your authorization to speak with Anna
  22         Nupson about it?
  23              A     It was a meeting that Fran was at. She
  24         asked me to take the lead and to tell her -- tell
  25         Anna how the GRAT worked, and that it was there.

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                                                                                               Page 73
    1                 MR. DAVIS: Let's go off the record.
    2                 THE VIDEOGRAPHER: 10:49, off the record.
    3                             ---
    4                      (Recess was taken from 10:49 a.m. to
    5        11:01 a.m.)
    6                             ---
    7                 THE VIDEOGRAPHER: 11:01, back on the
    8             record.
    9                 MR. MCMICHAEL: Okay. Mr. Davis, having
  10              had a further discussion with Mr. Rosenfield
  11              off the record to explore the privilege issues,
  12              I'm going to withdraw the direction not to
  13              answer the question that was asked immediately
  14              prior to the break.
  15                  And to make our position clear on the
  16              record, we will permit Mr. Rosenfield to answer
  17              questions concerning his discussions with
  18              Frances Middleton prior to the formation of the
  19              February 1, 2001 GRAT, provided that John
  20              Middleton or another third party was present in
  21              those discussions.
  22                  MR. DAVIS: All right. And for purposes
  23              today, Ms. -- John Middleton is going to be
  24              considered a third party, and I appreciate that
  25              he is a client, but --

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                                                                                               Page 74
    1                 MR. MCMICHAEL: Well, yeah.
    2                 MR. DAVIS: Yeah.
    3                 MR. MCMICHAEL: He is considered a third
    4             party at this point in time.
    5                 MR. DAVIS: Okay.
    6                 MR. MCMICHAEL: Prior to the formation of
    7             the February 1, 2001 GRAT. In connection with
    8             the GRAT and thereafter, he was a co-client, as
    9             he was trustee of the GRAT.
  10         BY MR. DAVIS:
  11              Q     Okay. With that explanation, can you
  12         describe the conversation you had with Mrs.
  13         Middleton, Frances Middleton?
  14              A     I would have had conversations describing
  15         the advantages of a GRAT, how they worked, the
  16         required terms, and how they fit in with her overall
  17         estate planning and the possible benefits, if they
  18         were successful.
  19              Q     I'm going to ask you some questions.
  20         These gentlemen are definitely going to have some
  21         heartburn. So give them a second. They may need to
  22         interrupt you.
  23                       Okay?
  24              A     Thank you, thank you.
  25              Q     During those conversations -- first of

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